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                       IN THE UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF MARYLAND


CRAIG SCOTT #30218-037
                                                           :    Civil Action No. CCB-12-3274
                                                                Criminal Action No. CCB-95-202
               v.                                          :

UNITED STATES OF AMERICA                                   :

                                                MEMORANDUM

           Pending is Craig Scott’s Motion for New Trial, which has been construed as a Motion to

Vacate Set-Aside or Correct Sentence under 28 U.S.C. § 2255. The Motion is DISMISSED

without prejudice for lack of jurisdiction.1

I. Petitioner’s Claims

           Scott alleges ineffective assistance of counsel2 and prosecutorial misconduct, and states

he is actually innocent of conspiracy based on Braverman v. United States, 317 U.S. 49 (1942).

Citing Eberhart v. United States, 546 U.S. 12 (2005) (per curiam) and Rice v. Rivera, 617 F.3d

802 (4th Cir. 2010), Scott contends that this court may review his claims under Federal Rule of

Criminal Procedure 33.

II. Procedural Background

           Scott was convicted of bank robbery by force or violence. In an amended judgment, he

was sentenced to a total term of 9 months as to counts 1, 2, and 4, with these sentences to run

concurrently with each other and to run concurrently with the unexpired term of the previously




1
    Scott’s request for appointment of counsel (ECF No. 280) is denied.
2
 Claims of ineffective assistance are rarely if ever decided in a motion for a new trial or on direct appeal. See e.g.
United States v. Charin, 322 F.3d 274, 282 n. 4 (3rd Cir. 2003).
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imposed sentence of imprisonment of 87 months as to count 6 in Criminal Number K-94-0281,

and to run consecutively to the 5 year sentence imposed as to count 7 in Criminal Number K-94-

0281; imprisonment for a term of 20 years on Count 3 and 20 years on count 5, said terms to run

consecutively to each other and consecutively to the sentence of 9 months imposed as to counts

1, 2, and 4; supervised release for a term of 3 years; and an assessment $250.00. ECF No. 173.

His appeal was dismissed. ECF No. 183.

          This court denied Scott’s first 28 U.S.C. § 2255 motion, docketed as Civil Action No.

CCB-03-1957. ECF No. 214. The Fourth Circuit denied Scott’s certificate of appealability and

dismissed the appeal. ECF No. 236.

          Scott’s second 28 U.S.C. § 2255 motion, docketed as Civil Action No. CCB-12-259, was

denied without prejudice as successive. See ECF No. 266. No appeal was taken.

III. Analysis

          Rule 33, which authorizes a district court to “vacate any judgment and grant a new trial if

the interest of justice so requires,” prescribes rigid deadlines within which new trial motions may

be filed.3 In Eberhart, the Supreme Court concluded that Rule 33 is a nonjurisdictional claim-

processing rule, which “assure[s] relief to a party properly raising [it], but do[es] not compel the

same result if the party forfeits [it].” Id. at 19. Scott provides no rationale for previously failing

to challenge his conspiracy convictions. Thus, his latest attempt to overturn his convictions shall

not be addressed under Rule 33, but instead shall be viewed as Scott’s third § 2255 motion to

vacate.



3
  Rule 33 provides that a motion for a new trial based on newly discovered evidence must be filed within three years
of an adjudication of guilt, whereas motions predicated on any other ground must be filed within fourteen days. See
Fed.R.Crim.P. 33(b).                                                                                               .



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         In recent correspondence, Scott contends that prefiling authorization from the Fourth

Circuit previously required pursuant to 28 U.S.C. '2244(b)(3)(A)& 2255 and In re Avery W. Vial,

115 F.3d 1192, 1197-98 (4th Cir. 1997) (en banc) is no longer required, based on policy

guidelines promulgated by the Department of Justice. ECF No. 277. Such guidelines, however,

do not control existing statutory and case law and are not applicable here. Prefiling authorization

is required before this court can examine Scott’s motion to vacate. Such authorization does not

appear to have been granted. Accordingly, the motion will be dismissed without prejudice for

lack of jurisdiction.4

IV. Certificate of Appealability

         Pursuant to Rule 11(a) of the Rules Governing Proceedings Under 28 U.S.C. §2255, the

court is required to issue or deny a certificate of appealability when it enters a final order adverse

to the applicant. A certificate of appealability is a “jurisdictional prerequisite” to an appeal from

the court's earlier order. United States v. Hadden, 475 F.3d 652, 659 (4th Cir. 2007). A certificate

of appealability may issue “only if the applicant has made a substantial showing of the denial of

a constitutional right.” 28 U.S.C. § 2253(c)(2). Where the court denies petitioner's motion on its

merits, a petitioner satisfies this standard by demonstrating that reasonable jurists would find the

court's assessment of the constitutional claims debatable or wrong. See Slack v. McDaniel, 529

U.S. 473, 484 (2000); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003). Where a

motion is denied on a procedural ground, a certificate of appealability will not issue unless the

petitioner can

demonstrate both “(1) that jurists of reason would find it debatable whether the petition states a

valid claim of the denial of a constitutional right and (2) that jurists of reason would find it


4
 To the extent Scott appears to claim that he is “actually innocent” of conspiracy or that separate consecutive
sentences were illegal, the case law does not support his argument.

                                                          3
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debatable whether the district court was correct in its procedural ruling.” Rose v. Lee, 252 F.3d

676, 684 (4th Cir. 2001) (quotation marks omitted). Scott does not satisfy this standard. Denial

of a certificate of appealability, however, does not prevent a petitioner from seeking pre-filing

authorization for a successive motion under 28 U.S.C. § 2255.

Conclusion

       For the foregoing reasons, the motion to vacate, set aside or correct sentence will be

dismissed without prejudice for lack of jurisdiction and a certificate of appealability will not

issue. A separate order follows.



November 13, 2012                                    ________________/s/________________
Date                                                 Catherine C. Blake
                                                     United States District Judge




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